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                   11                                  UNITED STATES DISTRICT COURT

                   12                            NORTHERN DISTRICT OF CALIFORNIA

                   13                                     SAN FRANCISCO DIVISION

                   14
                        STATE OF CALIFORNIA and GAVIN                   Case No. 3:25-cv-03372-JSC
                   15   NEWSOME, in his official capacity as
                        Governor of California,                         UNOPPOSED ADMINISTRATIVE
                   16                                                   MOTION SEEKING TO FILE AN
                                         Plaintiffs,                    AMICUS CURIAE BRIEF IN
                   17                                                   SUPPORT OF PLAINTIFFS’ MOTION
                              v.                                        FOR PRELIMINARY INJUNCTION;
                   18                                                   PROPOSED BRIEF ATTACHED TO
                        DONALD J. TRUMP, in his official capacity       THIS MOTION
                   19   as President of the United States, et al.,
                                                                        Date: June 26, 2025
                   20                    Defendants.                    Time: 10:00 a.m.
                                                                        Ctrm: Courtroom 8, 19th Floor
                   21                                                   Judge: Hon. Jacqueline Scott Corley

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  CROWELL
& MORING LLP                                                                 ADMINISTRATIVE MOTION OF AMICI CURIAE FOR
ATTORNEYS AT LAW                                                               LEAVE TO FILE AMICUS CURIAE BRIEF ISO PL’S
                                                                                       MOT FOR PRELIMINARY INJUNCTION;
                                                                                                CASE NO. 3:25-CV-03372-JSC
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                    1          Pursuant to Local Rule 7-11, George F. Allen, Steven G. Calabresi, Joshua A. Claybourn,

                    2   John C. Danforth, Richard A. Epstein, Charles T. Hagel, Harold Hongju Koh, Gerard N.

                    3   Magliocca, Michael W. McConnell, Michael B. Mukasey, Alan O. Sykes, Judge John Daniel

                    4   Tinder, Peter J. Wallison, and Philip Zelikow (together, “proposed amici”) respectfully move,

                    5   through undersigned counsel, for leave to file a brief as amici curiae in support of plaintiffs’

                    6   motion for preliminary injunction. The proposed brief is attached as Exhibit 1, and a proposed

                    7   order is also attached. In support of this motion, amici further state:

                    8          1.      This Court has discretion in determining whether a third party may participate in a

                    9   case as amicus curiae. See, e.g., NGV Gaming Ltd. v. Upstream Point Molate, LLC, 355 F. Supp.

                   10   2d 1061, 1067 (N.D. Cal. 2005). “District courts frequently welcome amicus briefs from non-

                   11   parties concerning legal issues that have potential ramifications beyond the parties directly

                   12   involved. Id.; see also Yurok Tribe v. U.S. Bureau of Reclamation, 654 F. Supp. 3d 941, 957 n. 6

                   13   (N.D. Cal. 2023). Amici can provide precisely that kind of information and perspective.

                   14          2.      Amici are constitutional scholars, legal historians, public lawyers, retired federal

                   15   appellate judges, a former United States Attorney General, and three former United States

                   16   Senators united by a common conviction: the endurance of the American Republic depends not

                   17   only on elections or policy outcomes, but on the faithful preservation of its constitutional

                   18   structure. They span the ideological spectrum, joined not by partisanship but by a common

                   19   concern over the erosion of Congress’s Article I authority. Amici do not appear to defend or

                   20   oppose any particular trade policy. They file this brief because they believe the Constitution

                   21   draws bright lines between legislative and executive power—and that those lines are being

                   22   blurred in ways that threaten democratic accountability itself.

                   23          3.      On May 19, 2025, counsel for amici conferred with counsel for the parties and

                   24   both parties have consented to the filing of this brief.

                   25                                                  CONCLUSION

                   26          For all the foregoing reasons, amici respectfully request that the Court grant their motion

                   27   for leave to file an amicus curiae brief.

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                                                                                      ADMINISTRATIVE MOTION OF AMICI CURIAE FOR
  CROWELL                                                                               LEAVE TO FILE AMICUS CURIAE BRIEF ISO PL’S
& MORING LLP                                                              -1-                   MOT FOR PRELIMINARY INJUNCTION;
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                                                                                                         CASE NO. 3:25-CV-03372-JSC
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                    1   Dated: May 19, 2025                      CROWELL & MORING LLP

                    2

                    3                                            By: /s/ Warrington S. Parker III
                                                                     Warrington S. Parker III
                    4                                                Joanna Rosen Forster
                                                                     Attorneys for AMICI CURIAE
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                    6
                        Dated: May 19, 2025                      MICHAEL W. MCCONNELL
                    7

                    8
                                                                 By: /s/ Michael W. McConnell
                    9                                                Michael W. McConnell
                                                                     Attorney for AMICI CURIAE
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  CROWELL
& MORING LLP                                                               ADMINISTRATIVE MOTION OF AMICI CURIAE FOR
                                                                             LEAVE TO FILE AMICUS CURIAE BRIEF ISO PL’S
ATTORNEYS AT LAW
                                                               -2-                   MOT FOR PRELIMINARY INJUNCTION;
                                                                                              CASE NO. 3:25-CV-03372-JSC
